Case.-1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 1 of 12

EXHIBIT 20
21UW ale LUese Jor sug-",
stions?
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GEORGE KOHL, Casper
he real tax “

imbers

lor: a,
Regarding “My taxes are
her than Mitt’s” by RW
suse, Letters/March 15:
This is a story about
neone whomadethe .
Tage monthly Social Se-
ity check of $1,230, and:
nall monthly pension
3ay 25 percent) which
310. You get $1,540 per
ath. ,

Now add earned income
3,758 to that and you get
tal of $22,238 in wages
he'year. Now Clouse
titted to paying $1,240
xes. BY my math that’s’ -
ita5.5 percent bill.

inno Mitt Romney fan, -—-———

Mitt’s 17 percent dwarfs
-5 percent.

4.D. HURD, Thermopotis .

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SHRUBS,
SIR?

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lat should the military
-civilian leaders learn
ais episode that they
Vt havedlearned from
m or by listening 'to

ls —‘anid there were
prominent ones’ —
amned

. Waters off the remote island z

_ Kiribati, they said.
sis by the State Department, ”
" salvagers from The Interna. ~

« toast’
_ Willtise

Noonan,

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12. SW SewldOoMAaglt 26k iffinoss vo
Case 1:13 Cy O0138-5 erode Santorum’s stand-
y ing. One ad accused the former Pennsylva-
nia senator of changing his principles while
serving in Congress, while two others criti-
cized him for voting to raise the debt limit,
raise his own pay as a lawmaker and side

grich 135 and Paul 50.
he

gust.

Earhart
mystery
recetves
new clue

WASHINGTON (AP)
. ~ Anew chie in.one of the
2oth century’s most endur-
ing mysteries might uncover
the fate of American aviator’
Amelia Earhart,. who went
missing without a trace over
_ the South Pacific 75 years ago,
investigators said Tuesday,
Enhanced analysis of a-
- Photograph taken months
' after Earhart’s” Lockheed

Electra plane vanished shows +s
what experts think tay be .

the landing gear of the air
craft protruding from th

of Nikumaroro, in what is -.
now: the Pacific sation of ::

Amned with that analy-

mans, scientists and

tional Group for Historic Air-
craft Re are returning
to the island in July in the
hope of finding the wreckage

(All Creatur¥s.

7/0914 Page 2., 5 vom a
dO 7/028: to The a ws : 30 . $ |
ciated Press count, Santorum had 253, Gin- = 750ml :

If Romney continues on the same pace, =

will lock up the nomination before
the convention Opens in Tampa, Fla., in Au-

"| BALVENIE
12YR OLD SCOTCH

VETERINARY HOSPITAL,

Comprehensive Small Animal Medicine « Surgery ¢ Dentistry © .

Welcome Dr. Scott Thorne!

All Creatures Veterinary Hospital ‘is excited to welcome the addition of their
FAew Associate Veterinarian, Dr, Scott Thorne, Dr. Thome is
eaming his Doctorate of Veterinary Medicine from the
Medicine and Biomediezt.
His eight years of vet
animal medicine in P

a Wyoming native,
College of Veterinary

Perience have been gained while Practicing smal]
ia and Wyoming, - *

Scot's wife. Christine. is not only'a full ay
time mother. but is alsa employed part
lime as a Physical Therapist at Wyoming
Medical Center. The couple is blessed to
have two heautiful daughters Madeline
and Katie. Scott is also an active member!
of Casper’s 5-Trails Rotary Club. The
family has three cats Miranda, Baxter,
LandMollie :

Dr. Thorne is looking
forward to seeing
new and old clients.

Dr. Wade Morrison » Dr. Jim Morrison © Dr. Linda’ Meredith © Di: Scét# Thome

Sciences at Colorado State University in May 2004, f.

BAILEY’s
-IRISH CREAM

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of Earhart’s plane and per-
haps even the remains of the
Pilot and her navigator, Fred

‘Ric’ Gillespie, executive
director of the group, jac-
knowledged that. the evi-
dence. was “circumstantial”
but “strong” . but stopped -
short of Predicting success.
The new search is scheduled

10-days in July and |
State-of-the-art un-

Appliances! . _

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= NEVO: Tis
“CAPP® customers ay
Save 25% |
Enroll in our Customer Appliance
Protection Plan (CAPR®) and
receive the 25% disdount!
’ (Requires t-yr. CAPP commitment)

“HURRY IN! |
Sale ends March 30!
Stop by our appliance
showroom at. -

1535 E. Yellowstone Hwy.
inCasper ~*~ / ©.

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SAVE 15% off the regular |

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Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 3 of 12

EXHIBIT 21
Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 4 of 12

PART OF AGREEMENT BETWEEN THE INTHRNATIONAL GROUP FOR HISTORIC

us

COVERY AND COMPANY DATED AS OF APRIL 12, 2010

Company’) 3 and. iolere péditi it
3616 between the parties (Cexpedition eee a All letpitatized
Agreement are defined in the Expedition Agreement between the partie:
niake reference tothe following facts:

Wr lEREAS® T IGUAL R has s agreed to allow wy Campaiy to publ icize Caaclusive Discoveries

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2 Neitiese the: ts Rolorme of the Con fh

4 TIGHAR assumes lability for damages arising fiom any brea fof ‘this
Agreement by TIGHAR, ine ding unauthorized use of disclosure of the ©
Information by TIGHAR ‘'s ‘agile, or employees (nchiding employ yes. cwho Spare from

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EXHIBIT

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Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 5 of 12

TIGHAR, sabsequi. itt. ile date of disclosure to them). In the Bvent ofany breach of threatened
brdacli of this Agre any shall be entitled, in additley to all other available teriedies,
to specific per formance aid iifilntetive or other equitable relief:

5. This Ageement.shall-ve governed by and colstrued in ‘agéérdanee witht laws of
‘the State of Maryland a ag te conitaets eritered Into and wheally performed therein.

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Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 6 of 12

EXHIBIT 22
Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 7 of 12

On Apr 8, 2011, at 9:30 AM, Ric Gillespie wrote:

Could you include me in the loop for the video clips Jeff is
reviewing?

Absolutely. Jeff hasn't yet told me which clips contain
suspicious objects. He's been busy working on the
Nessie photo. As soon as | know which clips he's talking
about I'll let you Know and we can both check them out.

Also, after | talked to you | got up my courage and loaded
the Parallels and Windows programs into my Mac so that |
could review the three DVDs Jesse sent me back in
December. | expected it to be sonar data but what | have
is apparently all the standard resolution video and ROV
navigation data you and | talked about. I'll burn copies for
you and Jeff (as soon as | figure out how). The first DVD
includes the SeaPro software needed to run the data.
There's a bit of a learning curve but I'm figuring it out.

In just running a couple of clips to figure out how to use
the software I've already had a couple "WTF is THAT?"
moments. We really need to look closely at all of this
stuff.

Ric

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Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 8 of 12

EXHIBIT 23
Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 9 of 12

On Apr 8, 2011, at 11:46 AM, John Clauss wrote:
Ric,

Could you include me in the loop for the video clips Jeff is
reviewing? | have the half resolution HD video and would
be interested in looking at the images he is finding.

Thanks,

John

From: John Clauss <claussenter@cs.com>
Subject: A Thought

Date: April 8, 2011 11:46:45 AM EDT

To: Ric Gillespie <tighar1 @mac.com>

Ric,

Could you include me in the loop for the video clips Jeff is
reviewing? | have the half resolution HD video and would
be interested in looking at the images he is finding.

EXHIBIT
HS

Thanks,

John

tabbies”

Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 10 of 12

EXHIBIT 24
Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 11 of 12

“om Richard Gillespie <tigharic@me.com>
ant: Saturday, August 18, 2012 4:58 PM
To: - Jeff Glickman
Cc ‘Bob’
Subject: Re: Curious Shapes
Jeff,

Thank you. May Iuse this - credited to you of course?
Ric

On Aug 18, 2012, at 7:19 PM, Jeff Glickman wrote:

Thanks Ric & Bob. Much like the “Face on Mars”, the brain has an irrepressible ability to see things where
they are not: This is due to the way the brain employs pattern recognition to assemble higher-level visual
semantics from the environment. Marine flora and fauna have a nearly infinite ability to generate random
patterns which give the brain vast opportunities to see the pattems for objects which don’t exist. This misleads
casual observers to “see” non-existent objects.

Photointerpretation depends on the simultaneous application of multiple techniques. Each of these can be -
ewed as a single dimension of analysis, none of which are reliable individually. However, interpretive
ambiguity can be reduced by applying all of these simultaneously.

1} Differences in organic (natural) vs. man-made shapes.

2) Texture differences between objects within a neighborhood,

3) Pattern differences between objects within a neighborhood.

4) Color differences within multiple color spaces within a neighborhood.

5) Color absorption differences (spectrometry) between specific objects.

6) Temporal similarities vs. differences between video frames.

7). Object size and scale information which may be relative, absolute and ratiometric (mensuration). .
8) Object interaction with its environment.

9) Location information including, absolute position, relative position and context.

Image processing is a valuable asset and enabler for photointerpretation by aiding the interpretation of each of

the above dimensions. The interpretation of an object depends upon a the preponderance of evidence in each of
the above dimensions at the same time.

Jefi

From: Richard Gillespie [mailto:tigharic@me.com]
Sent: Saturday, August 18, 2012 11:39 AM
To; Bob

c: Jeff Glickman
Subject: Re: Curious Shapes a «|

EXHIBIT

Case 1:13-cv-00118-SWS Document 54-2 Filed 07/09/14 Page 12 of 12

I should mention that during our ROV excursions it was a common occurrence for us to see something in the.
distance that looked interesting only to discover that it was only coral when we went up close to have a look.

“hy

On Aug 18, 2012, at 12:54 PM, Bob wrote:

Interesting. I've attached a brightened and sharpened copy, and there are two curved objects in Charley's lower
circle, like rings, I hadn't noticed before. Might be something man made. Worth a closer look.

Also, I just noticed an object in the lower left comer of the published photo, looks like a sausage angled upward
at about 45 degrees, which appears to be tubular.

Bob

On 8/18/2012 9:19 AM, Richard Gillespie wrote:

FWIW

Begin forwarded message:

From: Charley Smith <smith.charley@me.com>
‘Subject: Curious Shapes

Date: August 18, 2012 11:57:58 AM EDT

To: Ric@tighar.org

Ric:
I've been examining the photo that's widely published in the news today as the 'debris' field,

I've circled two interesting shapes I notice right away in red. Doesn't the upper one look eerily
like a shaft

angling off into the distance - maybe the crankshaft from an engine? Also, the lower item
resembles two

- hubs connected by a shaft - part of the other landing gear?

Ok - [have little knowledge of the Electia and a large amount of imagination, but it certainly is
exciting! I'm sure you're receiving lots of these emails now. Can't wait to hear more!

Charley

<Charley101452sharp.jpe>

